          Case 1:17-cv-01117-RP Document 73 Filed 10/13/21 Page 1 of 1




                                 UNITED STATES DISTRICT COURT                         FILED
                                  WESTERN DISTRICT OF TEXAS                     October 13, 2021
                                       AUSTIN DIVISION                       CLERK, U.S. DISTRICT COURT
                                                                             WESTERN DISTRICT OF TEXAS

   GOOD RIVER FARMS, LP,                              §                               Julie Golden
                                                                          BY: ________________________________
                                                                                                  DEPUTY
                                                      §
           Plaintiff,                                 §
                                                      §
   vs.                                                §              NO. 1:17-cv-01117
                                                      §
   MARTIN MARIETTA                                    §
   MATERIALS, INC.; and                               §
   TXI OPERATIONS, LP,                                §
                                                      §
           Defendants.                                §


    ORDER ON AGREED MOTION FOR CONTINUANCE OF TRIAL DEADLINES


     After considering the Agreed Motion for Continuance of Trial Deadlines, the Court:

     FINDS that the Parties are agreeable to the motion and that there is good cause to grant a

continuance of the trial deadlines in this cause.

     Therefore, the Court GRANTS the Agreed Motion for Continuance of Trial Deadlines.

                                                                                 9 00 a.m.
     The Court further ORDERS that the final pretrial conference shall be set at __:__                 on

    December 17
________________,          21
                         20__,    and   that   jury   trial   will   commence    at    9:00    a.m.    on

 January 10
________________,   22
                  20___.


                  October 13
     SIGNED on _______________________, 2021.



                                                          ________________________________
                                                          HONORABLE ROBERT PITMAN
                                                          UNITED STATES DISTRICT JUDGE




                                                                                                  PAGE 1
